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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT


 CAROLANNE ROWE                                  Case No.: 3:2023cv00599

                      Plaintiff
        V.

 LAWRENCE G. SANTILLI, ET AL.

                      Defendant                  DECEMBER 28, 2023




      MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

       Pursuant to CT R USDCT L.Civ.R 7(a)(1) the defendants Lawrence G. Santilli;

Athena Healthcare Systems Inc., Athena Healthcare Associates Inc., and Webster Manor

Rehabilitation and Healthcare Center (“Defendants”) hereby submit this Memorandum of

Law in support of their Motion to Dismiss Plaintiff’s, Carolanne Rowe, Complaint

pursuant to: 1) Federal Rules of Civil Procedure 12(b)(1); 2) Federal Rules of Civil

Procedure 12(b)(6) for failure to state a claim upon which relief can be granted for alleged

violations of 42 U.S.C. §§ 1983, 1985, 1988, and for alleged violations of the Fourth Fifth

and Fourteenth Amendments to the United States Constitution; and 3) Federal Rules of

Civil Procedure 12(b)(1) as the Court should decline to accept supplemental jurisdiction

over all of the Massachusetts state law claims under 28 U.S.C. § 1367.




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                                 I.     BACKGROUND

       Bernadette Noga is a 91-year-old elderly, disabled, woman who has her residence

in Southbridge Massachusetts. Complaint ¶ 1. On April 17, 2019, Ms. Noga was admitted

to Webster Manor Rehabilitation and Healthcare Center (“Webster”), located in

Southbridge, Massachusetts. Complaint ¶ 16.

       The Massachusetts Probate Court determined Bernadette Noga lacks the mental

competence to care for her health and welfare and has appointed Audra Collins as her

Guardian. See, Exhibit 1. Furthermore, the Massachusetts Probate Court determined

Bernadette Noga lacks the mental competence to care for her financial estate and appointed

Laura LaRose as her Conservator. See, Exhibit 2.

       Since Ms. Noga’s admission to Webster her daughter Ellen Norris has acted with

hostility and with great animosity towards the undersigned Defendants. Ms. Norris as pro

se plaintiff and as representing Bernadette Noga as plaintiff filed a civil “Habeas Corpus”

action in Massachusetts (Docket No. 2085 CV 00162) against: Athena Health Care, Inc.;

Fredrick Rushton; Webster Manor, Inc.; Lawrence G. Santilli; Katrina Gomes; Corey

Beaudette; Audra Collins; Laura LaRose; Anita Palmaccio; and Patricia Davidson to

address all of the similar claims raised here. After a hearing on February 21, 2020, the Hon.

Judge Ricciardone dismissed the action for the following reasons:

       This process is normally reserved for post-conviction relief; Ellen Norris, a
       non-attorney, seeks to represent the interests of Bernadette Noga; and
       finally, the Probate and Family Court, having primary jurisdiction over this
       matter, has yet to reach a final adjudication on the merits of any controversy
       involved.




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Court Order attached as Exhibit 3. Judge Ricciardone was referring to four Worchester

Probate and Family Court cases pending which seek to address the claims raised herein

which involve Bernadette Noga: 1) WO 19 P 3249 PM as subject/ respondent; 2) WO 19

P 1419 GD as Ward/ respondent; 3) WO 19 P 2237 GD as Ward/ respondent; and 4) WO

19 P 2611 PM as Subject/ respondent.

       On June 4, 2020, Bernadette Noga, as the named plaintiff through her attorney

Carolanne Rowe, brought an action in the district court of Connecticut against Lawrence

Santilli as well as twenty-five other defendants alleging that the defendants abused and

wrongfully imprisoned her causing her various injuries and violations of various rights.

See, Exhibit 4. The defendants in that case filed a Motion to Dismiss and on September 25,

2020, the Honorable Judge Vanessa L. Bryant granted said motion. Judge Bryant found at

the time that Ms. Noga lacked capacity to initiate the action and that regardless that the

court must abstain from exercising jurisdiction over the case due to the pending

Massachusetts probate actions. See, Exhibit 5 at 1 and 7.

       Ms. Noga now seeks her third bite at the apple through the filing of the present

action against the Defendants. The Complaint again essentially alleges that Ms. Noga was

abused and falsely imprisoned by the Defendants along with various other allegations of

violations of her rights. In this action, however, the case is being brought on behalf of

Carolanne Rowe, Ms. Noga’s attorney who was appointed as the new Conservator of Ms.

Noga on December 7, 2021. Complaint ¶ 2.




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       As was the case with all of Ms. Noga’s prior actions, the state in which all the

witnesses and evidence that could be related to this case is the state of Massachusetts. It is

also undisputed that any alleged injury would have had to have occurred in Massachusetts.

Having been denied relief in the Massachusetts Civil Court, the plaintiff through her

conservator attorney now again improperly seeks an alternate forum in Connecticut District

Court to address her grievances against the Defendants.

                              II.     LEGAL STANDARD

A.     Subject Matter Jurisdiction

       A motion to dismiss for lack of subject matter jurisdiction is governed by Fed. R.

Civ. P. 12(b)(1), under which a case must be dismissed “when the court lacks the statutory

or constitutional power to adjudicate the case.” Nowak v. Ironworkers Local 6 Pension

Fund, 81 F.3d 1182, 1187 (2d Cir. 1996). When addressing a challenge to subject matter

jurisdiction under Rule 12(b) (1), a court may look beyond the pleadings and consider any

evidence. Both the moving and non-moving parties “may use affidavits and other materials

beyond the pleadings themselves in support or in opposition to a challenge to subject matter

jurisdiction.” Tuccio Development, Inc., v. Town of Ridgefield, No. 06 Civ. 1821, 2008

U.S. Dist. LEXIS 20988 at *1 (D. Conn. March 19, 2008) (citation and internal quotation

marks omitted). The “district court may also inquire, by affidavits or otherwise, into the

facts as they exist.” Id. (citation and internal quotation marks omitted).

       A plaintiff asserting that subject matter jurisdiction exists bears the burden of

proving it by a preponderance of the evidence. See Aurecchione v. Schoolman Transp. Sys.,




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Inc., 426 F.3d 635, 638 (2d Cir. 2005). All ambiguities and inferences will be drawn in

plaintiff’s favor. Id. The function of a motion to dismiss under Rule 12(b) (1) “is merely to

assess the legal feasibility of the complaint, not to assay the weight of evidence which

might be offered in support thereof” and accordingly, the “issue on a motion to dismiss is

not whether the plaintiff will prevail, but whether the plaintiff is entitled to offer evidence

to support his claims.” Bici v. Napolitano, No. 10 Civ. 1991 (AWT), 2012 U.S. Dist.

LEXIS 25418, at *1 (D. Conn. Feb. 28, 2012) (citations and internal quotation marks

omitted).

B.     Failure to State a Claim

       On a motion to dismiss for failure to state a claim, which is governed by Fed. R.

Civ. P. 12(b) (6), “the issue is ‘whether the claimant is entitled to offer evidence to support

the claims’” Patane v. Clark, 508 F.3d 106, 111 (2d Cir. 2007) (quoting Scheuer v. Rhodes,

416 U.S. 232, 236, 94 S. Ct. 1683, 40 L. Ed. 2d 90 (1984)). “To survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L.Ed. 2d

868 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 127 U. Ct. 1955,

167 L. Ed. 2d 929 (2007)). This pleading standard creates a “two-pronged approach” which

is based on “[t]wo working principles.” Iqbal, 556 U.S. at 678-79.

       First, all factual allegations in the complaint must be accepted as true; and all

reasonable inferences must be drawn in the favor of the non-moving party. See id., see also

Gorman v. Consolidated Edison Corp., 488 F.3d 586, 591-92 (2d Cir. 2007) (citation




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omitted). The presumption of truth does not extend, however, to “legal conclusions” or

“[t]he bare recitals of the elements of a cause of action supported by mere conclusory

statements.” Iqbal, 556 U.S. at 678.

        Second, “a complaint that states a plausible claim for relief” will survive a motion

to dismiss and “[d]etermining whether a complaint states a plausible claim for relief will…

be a context specific task that requires the reviewing court to draw on its jurisdictional

experience and common sense.” Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009) (quoting

Iqbal, 556 U.S. at 679) (internal quotation marks omitted). “Dismissal under Federal Rule

of Civil Procedure 12(b)(6) is appropriate when it is clear from the face of the complaint,

and matters of which the court may take judicial notice, that the plaintiff’s claims are barred

as a matter of law.” Associated Fin. Corp. v. Kleckner, 480 F. App’x 89, 90 (2d Cir. 2012)

(citation and internal quotations marks omitted).

                                    III.    DISCUSSION

A.      This District Court Does Not Have Subject Matter Jurisdiction in This Case
        and the Plaintiff has Failed to State a Claim for Which Relief Can be
        Granted.

        1.      The Plaintiff has failed to properly state a claim.

        Although it will be expounded upon more in the following sections, it is worth

noting at the start that the plaintiff has facially failed to meet the pleadings standard set out

in Twombly and Iqbal. Under the standard set out in Iqbal, a pleading does not require

detailed factual allegations “but it demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.” 556 U.S. at 678. As such, mere legal conclusions do




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not have the same deference of truth that are given to factual allegations. Similarly, courts

are not “bound to accept conclusory allegations or legal conclusions masquerading as

factual conclusions.” Faber v. Metropolitan Life Ins. Co., 648 F.3d 98, 104 (2d Cir. 2011)

(Citation omitted; internal quotation marks omitted). Finally, “[a]llegations are deemed

‘conclusory’ where they recite only the elements of the claim. They become implausible

when the court's commonsense credits far more likely inferences from the available facts.”

Arar v. Ashcroft, 585 F.3d 559, 617 (2d Cir. 2009) (Citation omitted).

        A review of the Complaint shows that the plaintiff set forth a “Facts” section

followed by twelve separate counts. In all but the last count (which is merely a claim for

punitive damages), the plaintiff’s formula is the same. She 1) states that she is re-alleging

Paragraphs 1-40 above and incorporates them into said count; 2) essentially just restates

the title of the count without providing any elements of the supposed cause of action; 3)

states that the defendants owed Ms. Noga a legal, ethical, and fiduciary duty to take care

of her; 4) that the defendants breached that duty and was the actual and proximate cause of

the plaintiff’s injuries; and 5) that the defendants are liable in damages to the plaintiff for

said breaches. Not only does the plaintiff reallege the same structure, but in these counts

the only paragraph that is different is the second paragraph. The rest are the exact same

paragraphs copied and pasted over and over again. Even in Paragraph two of each count

(the only paragraph that changes) the plaintiff fails to properly plead again as she just

copies and pastes the title of the count and states that the defendants had some sort of duty

to the plaintiff and that they violated it.




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         This kind of pleading clearly does not meet the pleading standard set out by

Twombly and Iqbal. The plaintiff’s complaint completely defers its interpretation of each

count to the court and asks it to piece meal not only the facts to prove each cause of action

from the “Facts” section, but also asks the court to create the elements of each cause of

action itself because the plaintiff has failed to plead the elements to ANY of her alleged

causes of action. This is because, as will be set out below, it is clear that her alleged causes

of action simply do not apply to any of the defendants. Accordingly, the court should

dismiss the plaintiff’s Complaint under Rule 12(b)(6) as the plaintiff has failed to state a

claim.

         2.     This Court has no jurisdiction under, or arising under, federal law.

         Under 28 U.S.C. § 1331, district courts obtain the power to hear cases under Federal

Question jurisdiction and provides that: “district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws, or treaties of the United States.” In

determining whether a plaintiff’s cause of action is one that is “arising under” federal law,

a district court must look to see if the plaintiff’s cause of action is directly created by federal

law. Gunn v. Minton, 568 U.S. 251, 257 (2013). If it is not, and is instead a state law claim,

a district court may have jurisdiction over the claim if it falls into a “special and small

category” of cases in which jurisdiction still lies. Id. at 258. For this “special and small

category to apply” the district court must ask whether the claim “necessarily raise[s] a

stated federal issue, actually disputed and substantial, which a federal forum may entertain

without disturbing any congressionally approved balance of federal and state judicial




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responsibilities.” Grable & Sons Metal Products v. Darue Engineering & Mfg., 545 U.S.

308, 314 (2005). Stated differently:

        [F]ederal jurisdiction over a state law claim will lie if a federal issue is: (1)
       necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of
       resolution in federal court without disrupting the federal-state balance
       approved by Congress. Where all four of these requirements are met . . .
       jurisdiction is proper because there is a serious federal interest in claiming
       the advantages thought to be inherent in a federal forum, which can be
       vindicated without disrupting Congress's intended division of labor between
       state and federal courts.

Gunn v. Minton, at 258 (Internal quotation marks omitted).

       The plaintiff claims that this Court has jurisdiction under 42 U.S.C. §§ 1983, 1985,

1988, and the Fourth, Fifth, and Fourteenth Amendments of the United States Constitution.

As a matter of law, it is clear that these provisions do not provide this Court with any

jurisdiction in this matter, as none of the Defendants are, or are even alleged to be, State

actors or acting under color of state law.

               i.      Failure to state a claim under 42 U.S.C. § 1983 and the Fourth,
                       Fifth, and Fourteenth Amendments of the United States
                       Constitution.

       The plaintiff has no basis for asserting these claims against a set of defendants

which are entirely private and non-state entities. A plaintiff must establish that “a person

acting under color of state law deprived him of a federal right” to succeed on a § 1983

claim. Thomas v. Roach, 165 F.3d 137, 142 (2d Cir. 1999).




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       Section 1983 does not itself confer substantive rights on a plaintiff but is instead

the means by which an injured party may seek vindication. Graham v. Connor, 490 U.S.

386, 393-94, 109 S. Ct. 1865, 104 L. Ed. 2d 443 (1989). It provides:

       Every person who, under color of any statute, ordinance, regulation, custom
       or usage, of any State… subjects, or causes to be subjected, any citizen of
       the United States or other person within the jurisdiction thereof to the
       deprivation of any rights, privileges or immunities secured by the
       Constitution and laws, shall be liable to the party injured in action at law,
       suit or equity, or other proper proceeding for redress . . . .

42 U.S.C. § 1983.

       To state a claim under § 1983, Plaintiff must show that she was injured by either a

state actor or a private party acting under color of state law. Ciambriello v. County of

Nassau, 292 F.3d 307, 323 (2d Cir. 2002); see also Rendell-Baker v. Kohn, 457 U.S. 830,

838, 102 S. Ct. 2764, 73 L. Ed. 2d 418 (1982) (in an action alleging § 1983 violation, “[i]f

the action of the respondent … is not state action, our inquiry ends.”). Ostensibly private

conduct can be fairly attributed to the state only if there is “such a ‘close nexus between

the State and the challenged action' that seemingly private behavior 'may be fairly treated

as that of the State itself.’” Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass'n,

531 U.S. 288, 295, 121 S. Ct. 924, 148 L. Ed. 2d 807 (2001) (quoting Jackson v. Metro.

Edison Co., 419 U.S. 345, 351, 95 S. Ct. 449, 42 L. Ed. 2d 477 (1974)); see also Tancredi

v. Metro. Life Ins. Co., 316 F.3d 308, 312-13 (2d Cir.), cert. denied, 539 U.S. 942, 123 S.

Ct. 2610, 156 L. Ed. 2d 628 (2003).




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       Plaintiff has not alleged that private health care providers, specifically the Athena

Defendants, are state agencies, nor that they may be treated as state actors for purposes of

the Plaintiff’s civil rights claims. A plain reading of the complaint reveals that the

undersigned Defendants were not state actors nor were they acting under the color of law

at any time relevant to the subject claim.

       Further reason to dismiss these claims include that the Fourth and Fifth

Amendments are wholly inapplicable to private conduct, see United States v. Jacobsen,

466 U.S. 109, 113, 104 S. Ct. 1652, 80 L. Ed. 2d 85 (1984) (“The Fourth Amendment …

is wholly inapplicable to actions taken by private citizens,” quoting Walter v. United States,

447 U.S. 649, 662, 100 S. Ct. 2395, 65 L. Ed. 2d 410 (1980) (Blackmun, J., dissenting));

Rini v. Zwirn, 886 F. Supp. 270, 289 (E.D.N.Y. 1995) (the “Fifth Amendment in and of

itself pertains only to actions of the federal government.”). The Fourth Amendment

protects citizens from unreasonable searches and seizures. The Fifth Amendment protects

the right to private property. The Fourteenth Amendment protects a citizen’s right to

procedural due process. However, the undersigned Defendants are not “state actors” nor is

it alleged that they acted under “color of law” during any time relevant to the subject

complaint with Ms. Noga. Therefore, Plaintiff has failed to state a claim for which relief

could be granted and this claim must be dismissed.

       Accordingly, any claim against the undersigned Defendants under section 1983 and

the U.S. Constitution, if the Court were to even construe one from the allegations of the




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complaint, must be dismissed these sections neither grant jurisdiction to the district court

nor has the Plaintiff properly pled them.

                ii.    Failure to state a claim under 42 U.S.C. § 1985 and 28 U.S.C. §
                       1343.

        The Plaintiff fails to state a claim under 42 U.S.C. § 1985. Section 1985 provides

in relevant part:

        If two or more persons in any State or Territory conspire . . . for the purpose
        of depriving, either directly or indirectly, any person or class of persons of
        the equal protection of the laws, or of equal privileges and immunities under
        the laws; … if one or more persons . . . do, or cause to be done, any act in
        furtherance of the object of such conspiracy, whereby another is . . .
        deprived of having and exercising any right or privilege of a citizen of the
        United States, the party so injured or deprived may have an action for the
        recovery of damages . . . .

42 U.S.C. § 1985.

        In order to survive a motion to dismiss a § 1985 conspiracy claim against a private

entity in the Second Circuit, a plaintiff must allege “(1) an agreement between a state actor

and a private party; (2) to act in concert to inflict an unconstitutional injury; and (3) an

overt act done in furtherance of that goal causing damages.” Ciambriello, 292 F.3d at 324-

25. Complaints containing only conclusory, vague, or general allegations that the

defendants engaged in a conspiracy to deprive the plaintiff of constitutional rights must be

dismissed, and “diffuse and expansive allegations are insufficient, unless amplified by

specific instances of misconduct.” Id. at 325 (internal citations omitted); see also De Jesus

v. Sears, Roebuck & Co., Inc., 87 F.3d 65, 70 (2d Cir. 1996).




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       This complaint fails to allege facts to establish that the private Defendants entered

into an agreement with state actors to inflict a particular unconstitutional injury upon the

Plaintiff. Plaintiff’s vague and conclusory allegations against the private defendants are

entirely unclear, unsupported by facts, and insufficient to substantiate her claims.

       Furthermore, to bring a claim of conspiracy to violate her civil rights, Plaintiff must

allege that she belonged to a protected class. Section 1985(3) “is applicable only if the

plaintiff can show that some racial, or perhaps otherwise class-based, invidiously

discriminatory animus lay behind the conspirators’ action.” LeBlanc-Sternberg v. Fletcher,

67 F.3d 412, 426-27 (2d Cir. 1995) (internal citations omitted); see also Gleason v.

McBride, 869 F.2d 688, 694-95 (2d Cir. 1989) (citing Griffin v. Breckenridge, 403 U.S. 88,

102-03, 91 S. Ct. 1790, 29 L. Ed. 2d 338 (1971)).

       Similarly, 28 U.S.C. § 1343 provides:

       (a)The district courts shall have original jurisdiction of any civil action
       authorized by law to be commenced by any person:
       (1) To recover damages for injury to his person or property, or because of
       the deprivation of any right or privilege of a citizen of the United States, by
       any act done in furtherance of any conspiracy mentioned in section 1985 of
       Title 42;
       (2) To recover damages from any person who fails to prevent or to aid in
       preventing any wrongs mentioned in section 1985 of Title 42 which he had
       knowledge were about to occur and power to prevent;
       (3) To redress the deprivation, under color of any State law, statute,
       ordinance, regulation, custom or usage, of any right, privilege or immunity
       secured by the Constitution of the United States or by any Act of Congress
       providing for equal rights of citizens or of all persons within the jurisdiction
       of the United States;
       (4) To recover damages or to secure equitable or other relief under any Act
       of Congress providing for the protection of civil rights, including the right
       to vote.




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       As has been explained above, section 1985 does not apply to the private

defendants, therefore, neither can any of the sections of section 1343 that rely upon

it. The Defendants are private entities and not state actors and have not been alleged

to be state actors or working under the color of state law. Plaintiff has also failed to

allege that the defendants have violated any federal laws that grant them relief under

this section. As such, section 1343 is entirely inapplicable to the Defendants.

        As stated above, even construing the complaint liberally, the Plaintiff fails

to allege the elements of a cause of action under section 1985 nor does she make

any such allegations that she is a member of a protected class. Plaintiff has also

failed to establish that section 1343 applies at all to her claims or grant jurisdiction

to this district court. Accordingly, any claim against the undersigned Defendants

under sections 1985 and 1343, if the Court were to even construe one from the

allegations of the complaint, must be dismissed.

               iii.    Failure to state a cause of action under 42 U.S.C. § 1988.

       42 U.S.C. § 1988(b) provides in relevant part provides that “in any action or

proceeding to enforce a provision of sections 1981, 1981a, 1982, 1983, 1985, and 1986 of

this title, . . . the court, in its discretion, may allow the prevailing party, other than the

United States, a reasonable attorney's fee as part of the costs.” Similarly, Section 1988(c)

provides that the court may also award expert fees at its discretion. Absolutely nowhere in

Section 1988, however, does it confer jurisdiction to a district court or give the plaintiff




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any cause of action. In fact, the Second Circuit has stated that the reason Congress enacted

Section 1988 was merely and “solely to make certain that attorneys representing plaintiffs

whose rights had been violated could expect to be paid. Hines v. City of Albany, 862 F.3d

215, 222 (2d Cir. 2017) (Citation omitted, internal quotation marks omitted).

        Accordingly, since 42 U.S.C. § 1988 does not provide a cause of action or grant

jurisdiction over to the district court over the Plaintiff’s claims, any claim against the

undersigned Defendants under section 1988, if the Court were to even construe one from

the allegations of the complaint, must be dismissed.

        3.      The Plaintiff has failed to establish diversity jurisdiction under
                28 U.S.C § 1332.

        28. U.S.C. § 1332 provides that “the district courts shall have original jurisdiction

of all civil actions where the matter in controversy exceeds the sum or value of $75,000 . .

. and is between – (1) citizens of different States . . . .” Furthermore, “[d]iversity jurisdiction

requires complete diversity: no plaintiff and no defendant may be citizens of the same

state. . . . A party's citizenship for these purposes is considered at the time the complaint is

filed.” Agoliati v. Block 865 Lot 300 LLC, Docket No. 22-51, 2023 U.S. App. LEXIS 2011,

at *2-3 (2d Cir. Jan. 26, 2023) (Citations omitted; emphasis added). Again, it “is well-

settled that the party asserting federal jurisdiction bears the burden of establishing

jurisdiction,” and it must prove jurisdiction by a “preponderance of evidence.” Platinum-

Montaur Life Sciences, LLC v. Navidea Biopharmaceuticals, Inc., 943 F.3d 613, 617 (2d

Cir. 2019).




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       In the present case, Ms. Noga is alleged to be a resident of Massachusetts. See

Complaint ¶ 1. Her Conservator and attorney, Carolanne Rowe, appears to be a resident of

Connecticut. See Exhibit 6. Defendants Lawrence Santilli and the Athena entities are

alleged to reside or be incorporated in Connecticut. See Complaint ¶¶ 3-8. Defendant

Webster is alleged to be incorporated in Massachusetts. See Complaint ¶ 9. Thus, as plead

there is clearly no complete diversity of citizenship in this case. If Ms. Noga’s residence is

used as the Plaintiff’s residence she shares the same domicile state as Webster, that being

Massachusetts, and if Attorney Rowe’s residence is used then she shares the same domicile

state as Mr. Santilli and the Athena entities, that being Connecticut. Therefore, as plead,

there is not complete diversity of citizenship in this case and the district court cannot have

jurisdiction under section 1332.

       Accordingly, since 28 U.S.C. § 1332 does not grant jurisdiction over to the district

court over the Plaintiff’s claims, any claim against the undersigned Defendants under

section 1332, if the Court were to even construe one from the allegations of the complaint,

must be dismissed.

B.     This Court Should Decline to Exercise Supplemental Jurisdiction Over
       Plaintiff’s Pendent Massachusetts State Law Claims.

       Plaintiff seeks to invoke the jurisdiction of this Court pursuant to 42 U.S.C. §§ 1983

and 1985 for a violation of her “civil rights” and requests the Court assert supplemental

jurisdiction over the remaining pendent Massachusetts state court claims. Complaint ¶¶ 10

and 12. Federal district courts have supplemental jurisdiction over non-federal law claims




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“that are so related to claims in the action within such original jurisdiction that they form

part of the same case or controversy under Article III of the United States Constitution.”

28 U.S.C. § 1367(a).

        A district court, however, “may decline to exercise supplemental jurisdiction over

a claim” once it “has dismissed all claims over which it has original jurisdiction.” Id. §

1367(c) (3). “[I]n the usual case in which all federal –law claims are eliminated before trial,

the balance of factors to be considered under the [supplemental] jurisdiction doctrine-

judicial economy, convenience, fairness, and comity—will point towards declining to

exercise jurisdiction over the remaining state-law claims.” Valencia ex rel. Franco v. Lee,

316 F.3d 299, 305 (2d Cir. 2003). Generally, “if a plaintiff’s federal claims are dismissed

before trial, the state claims should be dismissed as well.” Brzak v. United Nations, 597

F.3d 107, 113-14 (2d Cir. 2010).

        As this district court never had original jurisdiction over any claims brought by the

plaintiff, supplemental jurisdiction is inapplicable. If the court determines it did have

original jurisdiction over a dismissed claim, however, the Court should still deny the

request to exercise supplemental jurisdiction over these Defendants in the remaining

Massachusetts state court claims pursuant to 28 U.S.C. § 1367(c)(3). Here, declining

jurisdiction over Plaintiff’s state law claims would not disserve the principles of judicial

economy, convenience, or fairness. In fact, as pled, it is clear that out fairness for the rights

of the Defendants and respect towards the State of Massachusetts that this court should




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decline to accept supplemental jurisdiction over the Plaintiff’s claims as the State of

Massachusetts has substantial interest in hearing the claims alleged in this case.

         In Count VIII, labeled “BREACH OF THE STANDARD OF CARE, the Plaintiff

alleges that the Defendants were “obligated to meet a standard of care consistent with that

of a licensed medical care provider and failed to do so as outlined in Paragraphs 1-40.” See

Complaint ¶ 77. In other words, the Plaintiff is alleging that the Defendants committed

medical malpractice. In Massachusetts, the state has gone to great lengths to guarantee

certain procedural rights for defendants and requirements for plaintiffs and has a

specialized court system to hear these matters.1 As such, without any federal jurisdiction

or federal element in this case the case should be brought in a state forum in which the

plaintiff must comport with the proper statutory process that govern her state law medical

malpractice claims.

         Accordingly, this Court can and should decline to exercise its supplemental

jurisdiction over the pendent state law claims and should dismiss this action to allow for

them to be brought in a state with interest in the matter.




1
  In Massachusetts, a plaintiff must comport with sections G.L.c. 231, §§ 60L(a) and 60B. Section 60L(a)
requires that a plaintiff give a defendant healthcare provider written notice of the intent to file suit 182 days
prior to the commencing of a medical malpractice action that includes a statement providing a detailed basis
of the claim. Section 60B requires that a medical malpractice action be heard in front of an initial tribunal
that’s job is to determine whether there is a legitimate question of liability in a plaintiff’s case. Furthermore,
section 60B requires that if the tribunal rules in favor of the defendants that a plaintiff must post a bond
payable to the defendants in order to pursue their action.




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                                IV.     CONCLUSION

       For all of the foregoing reasons, the undersigned Defendants respectfully request

that this Court grant their motion and dismiss Plaintiff’s complaint under Rules 12(b)(1)

and (6).

                                      THE DEFENDANTS:
                                      LAWRENCE G. SANTILLI;
                                      ATHENA HEALTHCARE ASSOCIATES INC.;
                                      ATHENA HELATH CARE SYSTEMS INC.; AND
                                      WEBSTER MANOR REHABILITATION AND
                                      HEALTHCARE CENTER

                                      /s/ Christopher L. Wagner
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                            CERTIFICATE OF SERVICE

       The undersigned counsel for defendant hereby certifies that on this 28th day of

December 2023, a copy of the foregoing Motion to Dismiss was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be

sent by e-mail to all parties of record listed below by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF

System.


                                     /s/ Christopher L. Wagner
                                     ___________________________
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